888 F.2d 731
    William T. DUNN d/b/a Tom's Amusement Company and Tom'sAmusement Company, Inc., Plaintiffs-Appellees,v.BLUE RIDGE TELEPHONE COMPANY, Jones Vending Company, Inc.;Defendants-Appellants.
    Nos. 87-8837, 88-8158.
    United States Court of Appeals,Eleventh Circuit.
    Sept. 28, 1989.
    
      Trammell E. Vickery, James A. Gilbert, and H. Quigg Fletcher, III, Hansell &amp; Post, Atlanta, Ga., for defendants-appellants.
      R. Leslie Waycaster, Jr., Waycaster, Corn &amp; Murray, Dalton, Ga., for plaintiffs-appellees.
      Appeals from the United States District Court for the Northern District of Georgia;  William C. O'Kelley, Chief Judge.
      ON PETITIONS FOR REHEARING AND SUGGESTIONS FOR REHEARING IN BANC
      (Opinion April 6, 1989, 11th Cir., 1989, 868 F.2d 1578)
      Before RONEY, Chief Judge, TJOFLAT, HILL, FAY, VANCE, KRAVITCH, JOHNSON, HATCHETT, ANDERSON, CLARK, EDMONDSON, and COX, Circuit Judges.
    
    BY THE COURT:
    
      1
      A member of this court in active service having requested a poll on the application for rehearing in banc and a majority of the judges of this court in active service having voted in favor of granting a rehearing in banc,
    
    
      2
      IT IS ORDERED that these consolidated cases shall be decided by this court in banc.  The clerk will specify a briefing schedule for the filing of in banc briefs.
    
    
      3
      The previous panel opinion is hereby VACATED.
    
    